Case:20-16813-JGR Doc#:183 Filed:04/26/21   Entered:04/26/21 14:16:33 Page1 of 12
Case:20-16813-JGR Doc#:183 Filed:04/26/21   Entered:04/26/21 14:16:33 Page2 of 12
Case:20-16813-JGR Doc#:183 Filed:04/26/21   Entered:04/26/21 14:16:33 Page3 of 12
Case:20-16813-JGR Doc#:183 Filed:04/26/21   Entered:04/26/21 14:16:33 Page4 of 12
                   Case:20-16813-JGR Doc#:183 Filed:04/26/21      Entered:04/26/21 14:16:33 Page5 of 12


Report: 2021 Last Month Income Transaction by Month                                          Chee Wei Fong
Last Month: 3/1/2021 - 3/31/2021                                                                  Exhibit C




Date         Payee                                                           Category           Amount
    3/2/21   Front Range Gun Payroll 210302 P4548344 Chee Wei Fong           Income - GunSmoke       380.27
    3/3/21   Mobile Deposit : Ref Number :807030688906                       Deposit                  21.97
    3/5/21   COLLABERA INC DIRECT DEP 210305 936917215574XEL FONG.CHEE WEI   Income - Collabera    3,415.21
   3/16/21   Front Range Gun Payroll Pxxx9404 Chee Wei Fong                  Income - GunSmoke       381.28
   3/19/21   COLLABERA INC DIRECT DEP XXXXXXXX9870XEL FONG.CHEE WEI          Income - Collabera    3,415.21
   3/30/21   Front Range Gun Payroll 210330 P4780037 Chee Wei Fong           Income - GunSmoke       381.26
   3/31/21   Interest Payment : Wells Fargo Bank Interest Income             Deposit                   0.24
TOTAL                                                                                              7,995.44
                      Case:20-16813-JGR Doc#:183 Filed:04/26/21           Entered:04/26/21 14:16:33 Page6 of 12


Report: 2021 Last Month Transactions by Month                                                    Chee Wei Fong
Last Month: 3/1/2021 - 3/31/2021                                                                      Exhibit D

Date             Account                 Payee                          Category                  Amount
        3/1/21   WF DIP Checking x6748   Chick-fil-a                    Food and House Keeping          -15.18
        3/1/21   WF DIP Checking x6748   Cracker Barrel                 Food and House Keeping          -30.65
        3/1/21   WF DIP Checking x6748   King Soopers                   Auto Fuel                       -26.85
        3/1/21   WF DIP Checking x6748   King Soopers                   Food and House Keeping          -28.05
        3/2/21   WF DIP Checking x6748   King Soopers                   Food and House Keeping          -17.13
        3/2/21   WF DIP Checking x6748   Adt Security                   Home Security                   -63.04
        3/3/21   WF DIP Checking x6748   Sam's Club                     Food and House Keeping          -15.33
        3/3/21   WF DIP Checking x6748   Quicken Loans                  Home Mortgage                -1,786.45
        3/4/21   WF DIP Checking x6748   King Soopers                   Food and House Keeping          -22.23
        3/5/21   WF DIP Checking x6748   Firehouse Subs                 Food and House Keeping          -19.19
        3/8/21   WF DIP Checking x6748   The Great Greek                Food and House Keeping          -24.54
        3/8/21   WF DIP Checking x6748   Cracker Barrel                 Food and House Keeping          -29.15
        3/8/21   WF DIP Checking x6748   Chick-fil-a                    Food and House Keeping          -10.84
        3/8/21   WF DIP Checking x6748   Apple                          Entertainment                     -8.99
        3/8/21   WF DIP Checking x6748   American Family Insurance      Auto Insurance                 -123.06
        3/9/21   WF DIP Checking x6748   Mcgraff                        Food and House Keeping          -26.98
        3/9/21   WF DIP Checking x6748   Premier Members Credit Union   Home HELOC                         -750
        3/9/21   WF DIP Checking x6748   Wal-mart                       Food and House Keeping          -31.21
        3/9/21   WF DIP Checking x6748   Lake Front Hoa                 Home HOA Dues                      -295
       3/10/21   WF DIP Checking x6748   Chipotle                       Food and House Keeping            -9.01
       3/10/21   WF DIP Checking x6748   King Soopers                   Food and House Keeping          -20.74
       3/11/21   WF DIP Checking x6748   Kum & Go                       Auto Fuel                       -37.65
       3/12/21   WF DIP Checking x6748   Safeway                        Food and House Keeping          -21.93
       3/15/21   WF DIP Checking x6748   Firehouse Subs                 Food and House Keeping          -11.62
       3/15/21   WF DIP Checking x6748   Cracker Barrel                 Food and House Keeping          -29.65
       3/17/21   WF DIP Checking x6748   Georgia Boys Bbq Inc.          Food and House Keeping          -34.88
       3/17/21   WF DIP Checking x6748   Wal-mart                       Food and House Keeping          -48.61
                   Case:20-16813-JGR Doc#:183 Filed:04/26/21           Entered:04/26/21 14:16:33 Page7 of 12


    3/18/21   WF DIP Checking x6748   Circle K                       Auto Fuel                            -40.1
    3/18/21   WF DIP Checking x6748   Xcel Energy                    Home Electricity and Gas          -104.91
    3/19/21   WF DIP Checking x6748   Comcast                        Home Telecommunication             -92.02
    3/22/21   WF DIP Checking x6748   Big Daddy Bagel                Food and House Keeping             -38.16
    3/22/21   WF DIP Checking x6748   Popeye's                       Food and House Keeping             -20.61
    3/22/21   WF DIP Checking x6748   Cracker Barrel                 Food and House Keeping                 -30
    3/22/21   WF DIP Checking x6748   At&t                           Home Telecommunication             -62.54
    3/23/21   WF DIP Checking x6748   U.s. Lawshield                 Legal - US Law Shield                -13.9
    3/23/21   WF DIP Checking x6748   Cracker Barrel                 Food and House Keeping             -22.18
    3/25/21   WF DIP Checking x6748   King Soopers                   Personal Care                      -45.69
    3/25/21   WF DIP Checking x6748   Front Range Gun Club, Llc      Entertainment                        -60.1
    3/25/21   WF DIP Checking x6748   Circle K                       Auto Fuel                          -39.79
    3/26/21   WF DIP Checking x6748   Sam's Club                     Personal Care                      -93.11
    3/26/21   WF DIP Checking x6748   Wal-mart                       Food and House Keeping             -20.84
    3/26/21   WF DIP Checking x6748   Swedish Medical                Medical/Eyes/Dental Expenses           -35
    3/26/21   WF DIP Checking x6748   Benedicts                      Food and House Keeping             -35.61
    3/26/21   WF DIP Checking x6748   Sprouts Farmers Market, Inc.   Food and House Keeping               -16.2
    3/29/21   WF DIP Checking x6748   Chick-fil-a                    Food and House Keeping             -10.84
    3/30/21   WF DIP Checking x6748   Brewing Market                 Food and House Keeping             -27.01
    3/30/21   WF DIP Checking x6748   Wal-mart                       Food and House Keeping               -33.1
    3/31/21   WF DIP Checking x6748   Office Depot                   Home Office/Professional Fees      -95.49
    3/31/21   WF DIP Checking x6748   Batteries                      Auto Service and Repair            -189.9
TOTAL                                                                                                -4,665.06
      Case:20-16813-JGR Doc#:183 Filed:04/26/21                                         Entered:04/26/21 14:16:33 Page8 of 12
                                ®
Wells Fargo Preferred Checking
March 31, 2021       ■     Page 1 of 5




                                                                                                  Questions?
CHEE WEI FONG                                                                                     Available by phone 24 hours a day, 7 days a week:
                                                                                                  We accept all relay calls, including 711
DEBTOR IN POSSESSION
CH11 CASE #20-16813 (CO)                                                                            1-800-TO-WELLS             (1-800-869-3557)

3751 W 136TH AVE UNIT S2                                                                            En español: 1-877-727-2932
BROOMFIELD CO 80023-8149

                                                                                                  Online: wellsfargo.com

                                                                                                  Write: Wells Fargo Bank, N.A. (163)
                                                                                                          P.O. Box 6995
                                                                                                          Portland, OR 97228-6995




 You and Wells Fargo                                                                              Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                     A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                   convenient services with your account(s). Go to
                                                                                                  wellsfargo.com or call the number above if you have
                                                                                                  questions or if you would like to add new services.

                                                                                                  Online Banking           ✓    Direct Deposit          ✓
                                                                                                  Online Bill Pay               Auto Transfer/Payment
                                                                                                  Online Statements        ✓    Overdraft Protection
                                                                                                  Mobile Banking                Debit Card
                                                                                                  My Spending Report       ✓    Overdraft Service       ✓




       IMPORTANT ACCOUNT INFORMATION

The following dedicated text telephone/telecommunication device for the deaf (TTY/TDD) lines are being retired on March 5, 2021:
800-877-4833, 800-419-2265 and 800-600-4833. We accept relay-assisted calls, including calls from the 711 service, when customers call
any Wells Fargo customer service toll-free phone number. Wells Fargo will continue to provide excellent service to our deaf or hard of
hearing customers and customers with speech disorders.



Statement period activity summary                                                                 Account number:              6748
        Beginning balance on 3/1                                            $27,193.43            CHEE WEI FONG
                                                                                                  DEBTOR IN POSSESSION
        Deposits/Additions                                                    7,995.44
                                                                                                  CH11 CASE #20-16813 (CO)
        Withdrawals/Subtractions                                             - 4,665.06
                                                                                                  Colorado account terms and conditions apply
        Ending balance on 3/31                                             $30,523.81
                                                                                                  For Direct Deposit use
                                                                                                  Routing Number (RTN):          0076




     (163)
     Sheet Seq = 0103786
       Case:20-16813-JGR Doc#:183 Filed:04/26/21                                             Entered:04/26/21 14:16:33 Page9 of 12
March 31, 2021       ■   Page 2 of 5




Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.24
       Average collected balance                                     $28,965.06
       Annual percentage yield earned                                     0.01%
       Interest earned this statement period                               $0.24
       Interest paid this year                                             $0.66
       Total interest paid in 2020                                         $0.35




Transaction history

                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions         Subtractions              balance
       3/1                      Purchase authorized on 02/27 Chick-Fil-A #03634 Westminster                                                  15.18
                                CO S581059096999366 Card 3990
       3/1                      Purchase authorized on 02/28 Cracker Barrel # 5800 McW                                                        30.65
                                Loveland CO P00581060072973725 Card 3990
       3/1                      Purchase authorized on 03/01 King Soopers #07 2395 W.                                                         26.85
                                Broomfield CO P00461061005103582 Card 3990
       3/1                      Purchase authorized on 03/01 King Soop 2355 W. 136T                                                           28.05             27,092.70
                                Broomfield CO P00000000532585484 Card 3990
       3/2                      Front Range Gun Payroll 210302 P4548344 Chee Wei Fong                                  380.27
       3/2                      Purchase authorized on 03/02 King Soop 2355 W. 136T                                                           17.13
                                Broomfield CO P00000000582138694 Card 3990
       3/2                      ADT Security Ser Adtpapach xxxxx0151 Fong, Chee Wei                                                           63.04             27,392.80
       3/3                      Mobile Deposit : Ref Number :807030688906                                               21.97
       3/3                      Bill Pay Quicken Loans Recurring xxxxx37134 on 03-03                                                       1,786.45
       3/3                      Purchase authorized on 03/03 Sams Club Sam's Club Loveland                                                    15.33             25,612.99
                                CO P00000000381351250 Card 3990
       3/4                      Purchase authorized on 03/04 King Soop 2355 W. 136T                                                           22.23             25,590.76
                                Broomfield CO P00000000232317156 Card 3990
       3/5                      Collabera Inc Direct Dep 210305 936917215574Xel Fong,Chee                            3,415.21
                                Wei
       3/5                      Purchase authorized on 03/03 Firehouse Subs 128 Loveland CO                                                   19.19             28,986.78
                                S301062683004982 Card 3990
       3/8                      Purchase authorized on 03/05 Tst* The Great Gre Westminster                                                   24.54
                                CO S581064862891305 Card 3990
       3/8                      Purchase authorized on 03/06 Cracker Barrel # 5800 McW                                                        29.15
                                Loveland CO P00301065532220074 Card 3990
       3/8                      Purchase authorized on 03/06 Chick-Fil-A #03634 Westminster                                                   10.84
                                CO S381066094561423 Card 3990
       3/8                      Purchase authorized on 03/07 Apple.Com/Bill 866-712-7753 CA                                                    8.99
                                S381066580729091 Card 3990
       3/8                      American Family Aft 210306 B00000210651Dj8 Chee W Fong                                                       123.06             28,790.20
       3/9                      Purchase authorized on 03/07 Tst* McGraff S Loveland CO                                                       26.98
                                S581067048143653 Card 3990
       3/9                      Bill Pay Premier Members Credit Union Recurring                                                              750.00
                                xxxxxxxxxx36353 on 03-09
       3/9                      Purchase authorized on 03/09 Wal-Mart Super Center Loveland                                                   31.21
                                CO P00000000436397047 Card 3990
       3/9                      Lake Front Hoa Dues 210305 xxxxx0320 Chee Wei Fong                                                           295.00             27,687.01
       3/10                     Purchase authorized on 03/09 Chipotle 0780 Loveland CO                                                         9.01
                                S581068813845750 Card 3990
    Case:20-16813-JGR Doc#:183 Filed:04/26/21                                       Entered:04/26/21 14:16:33 Page10 of 12
March 31, 2021      ■     Page 3 of 5




Transaction history (continued)

                           Check                                                                  Deposits/   Withdrawals/   Ending daily
     Date                 Number Description                                                      Additions   Subtractions       balance
     3/10                        Purchase authorized on 03/10 King Soop 253 E. 29th Loveland                         20.74     27,657.26
                                 CO P00000000272068291 Card 3990
     3/11                        Purchase authorized on 03/11 Kum&Go 0994 Loveland Loveland                         37.65      27,619.61
                                 CO P00301070594723568 Card 3990
     3/12                        Purchase authorized on 03/12 Safeway #2624 Broomfield CO                           21.93      27,597.68
                                 P00461072059929404 Card 3990
     3/15                        Purchase authorized on 03/12 Firehouse Subs 128 Loveland CO                        11.62
                                 S301071827695462 Card 3990
     3/15                        Purchase authorized on 03/13 Cracker Barrel # 5800 McW                             29.65      27,556.41
                                 Loveland CO P00381072533040493 Card 3990
     3/16                        Front Range Gun Payroll 210316 P4669404 Chee Wei Fong              381.28                     27,937.69
     3/17                        Purchase authorized on 03/16 Georgia Boys Bbq Longmont CO                          34.88
                                 S581076028466925 Card 3990
     3/17                        Purchase authorized on 03/17 WM Superc Wal-Mart Sup                                48.61      27,854.20
                                 Loveland CO P00000000282901563 Card 3990
     3/18                        Purchase authorized on 03/18 Circle K # 41129 885 W Broomfield                     40.10
                                 CO P00000000481782508 Card 3990
     3/18                        Xcel Energy-PSCO Xcelenergy 00087262622 Well Fargo Personal                       104.91      27,709.19
     3/19                        Collabera Inc Direct Dep 210319 929719449870Xel Fong,Chee        3,415.21
                                 Wei
     3/19                        Comcast 8497101 xxxxx4202 210318 7325091 Chee Wei *Fong                            92.02      31,032.38
     3/22                        Purchase authorized on 03/19 Sq *Big Daddy Bage Lafayette CO                       38.16
                                 S581078436490540 Card 3990
     3/22                        Purchase authorized on 03/19 Popeyes 12756 / 42 Longmont CO                        20.61
                                 S461078805320926 Card 3990
     3/22                        Purchase authorized on 03/21 Cracker Barrel # 5800 McW                             30.00
                                 Loveland CO P00581080498689180 Card 3990
     3/22                        ATT Payment 032021 844687013Epayn Chee Wei Fong                                    62.54      30,881.07
     3/23                        Recurring Payment authorized on 03/22 U.S. Lawshield                               13.90
                                 WWW.Uslawshie TX S461081545858656 Card 3990
     3/23                        Purchase authorized on 03/23 Cracker Barrel # 5800 McW                             22.18      30,844.99
                                 Loveland CO P00301083026371047 Card 3990
     3/25                        Purchase authorized on 03/24 Front Range Gun Cl Loveland CO                        60.10
                                 S301083614526103 Card 3990
     3/25                        Purchase authorized on 03/25 Circle K # 41129 885 W Broomfield                     39.79
                                 CO P00000000834058439 Card 3990
     3/25                        Purchase authorized on 03/25 King Soop 2355 W. 136T                                45.69      30,699.41
                                 Broomfield CO P00000000975964331 Card 3990
     3/26                        Purchase authorized on 03/25 Swedish Medical Ce 8664751385                         35.00
                                 TN S461084461168819 Card 3990
     3/26                        Purchase authorized on 03/25 Benedicts Restaura 720-5299797                        35.61
                                 CO S381084526147822 Card 3990
     3/26                        Purchase authorized on 03/26 Sprouts Farmers Market #                              16.20
                                 Loveland CO P00461085568006542 Card 3990
     3/26                        Purchase authorized on 03/26 Sams Club Sam's Club Loveland                         93.11
                                 CO P00000000772784767 Card 3990
     3/26                        Purchase authorized on 03/26 Wal-Mart #0953 Loveland CO                            20.84      30,498.65
                                 P00000000185222154 Card 3990
     3/29                        Purchase authorized on 03/27 Chick-Fil-A #03634 Westminster                        10.84      30,487.81
                                 CO S461087061739756 Card 3990
     3/30                        Front Range Gun Payroll 210330 P4780037 Chee Wei Fong              381.26
     3/30                        Purchase authorized on 03/29 Brewing Market Cof Longmont CO                        27.01
                                 S301088586171611 Card 3990
     3/30                        Purchase authorized on 03/30 Wal-Mart #0953 Loveland CO                            33.10      30,808.96
                                 P00000000587613008 Card 3990
     3/31                        Purchase authorized on 03/31 Office DE 277 E. 29th Loveland CO                     95.49
                                 P00000000689196186 Card 3990




    Sheet Seq = 0103787
      Case:20-16813-JGR Doc#:183 Filed:04/26/21                                             Entered:04/26/21 14:16:33 Page11 of 12
March 31, 2021        ■   Page 4 of 5




Transaction history (continued)

                           Check                                                                                     Deposits/         Withdrawals/         Ending daily
       Date               Number Description                                                                         Additions         Subtractions             balance
       3/31                      Purchase authorized on 03/31 Batteries+Bulbs #0433 Loveland                                                 189.90
                                 CO P00301090689217576 Card 3990
       3/31                      Interest Payment                                                                         0.24                                 30,523.81
       Ending balance on 3/31                                                                                                                                 30,523.81
       Totals                                                                                                      $7,995.44             $4,665.06

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.


Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for a
link to these documents, and answers to common monthly service fee questions.


       Fee period 03/01/2021 - 03/31/2021                                                   Standard monthly service fee $15.00                   You paid $0.00

       How to avoid the monthly service fee                                                                    Minimum required                   This fee period


                                                                                                                                                                      3
       Have any ONE of the following account requirements


                                                                                                                                                                      3
         · Total amount of qualifying direct deposits                                                                   $1,000.00                      $7,973.23      ✔



                                                                                                                                                                      3
         · A linked Wells Fargo home mortgage                                                                                   1                              0
         · Combined balance in linked accounts, which may include                                                      $10,000.00                     $25,590.76      ✔

           - Minimum daily balance in personal checking, savings, Time Accounts (CDs) and
             FDIC-insured Retirement accounts
       JD/JD




         IMPORTANT ACCOUNT INFORMATION

Effective on or after April 1, 2021, the ATM Access Code feature will no longer be available to access your accounts at Wells Fargo ATMs.
You may continue to access Wells Fargo ATMs using your Wells Fargo Debit, ATM or EasyPay Card, or with a Wells Fargo-supported
digital wallet on your mobile device. For more information about adding your card to a digital wallet, please visit
wellsfargo.com/mobile/payments. Availability may be affected by your mobile carrier's coverage area. Your mobile carrier's message
and data rates may apply. Some ATMs within secure locations may require a physical card for entry. Note: After the ATM Access Code
feature for accessing Wells Fargo accounts is discontinued, the "Use an Access Code" button may continue to be displayed on Wells
Fargo ATMs to support other services.




Can we reach you when it's really important?

Don't miss suspicious-activity alerts and critical account information. Please make sure your contact information is current by:
                                                            ®
- Signing on to wellsfargo.com or the Wells Fargo Mobile app and navigating to the Update Contact Information page via My Profile
- Contacting the phone number at the top of your statement
- Visiting a branch
     Case:20-16813-JGR Doc#:183 Filed:04/26/21                                       Entered:04/26/21 14:16:33 Page12 of 12
March 31, 2021        ■     Page 5 of 5




Worksheet to balance your account                                         General statement policies for Wells Fargo Bank
Follow the steps below to reconcile your statement balance with your      ■    To dispute or report inaccuracies in information we have furnished to a
account register balance. Be sure that your register shows any interest        Consumer Reporting Agency about your accounts. You have the right to
paid into your account and any service charges, automatic payments or          dispute the accuracy of information that Wells Fargo Bank, N.A. has
ATM transactions withdrawn from your account during this statement             furnished to a consumer reporting agency by writing to us at Overdraft
period.                                                                        Collection and Recovery, P.O. Box 5058, Portland, OR 97208-5058. Please
A Enter the ending balance on this statement.             $                    describe the specific information that is inaccurate or in dispute and the
                                                                               basis for the dispute along with supporting documentation. If you believe
 B List outstanding deposits and other                                         the information furnished is the result of identity theft, please provide us
credits to your account that do not appear on                                  with an identity theft report.
this statement. Enter the total in the column
                                                                          ■    In case of errors or questions about your electronic transfers,
to the right.
                                                                               telephone us at the number printed on the front of this statement or write
                                                                               us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
Description                       Amount
                                                                               you can, if you think your statement or receipt is wrong or if you need more
                                                                               information about a transfer on the statement or receipt. We must hear
                                                                               from you no later than 60 days after we sent you the FIRST statement on
                                                                               which the error or problem appeared.
                                                                               1. Tell us your name and account number (if any).
                                                                               2. Describe the error or the transfer you are unsure about, and explain as
                                                                                  clearly as you can why you believe it is an error or why you need more
                    Total     $                        + $
                                                                                  information.
                                                                               3. Tell us the dollar amount of the suspected error.
C Add A and B to calculate the subtotal.               = $
                                                                               We will investigate your complaint and will correct any error promptly. If
 D List outstanding checks, withdrawals, and                                   we take more than 10 business days to do this, we will credit your account
other debits to your account that do not appear                                for the amount you think is in error, so that you will have the use of the
on this statement. Enter the total in the column                               money during the time it takes us to complete our investigation.
to the right.

Number/Description                Amount




                    Total     $                        -   $

 E Subtract D from C to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.                                              = $                                                                   . NMLSR D 399801
                                                                              ©2010 Wells Fargo Bank, N.A. All rights reserved




      Sheet Seq = 0103788
